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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW MEXICO

__________________________________________
                                              )
NEW MEXICO CATTLE GROWERS’                    )
ASSOCIATION,                                  )
                                              )
      Plaintiff,                              )
                                              )
                v.                            )
                                              )
UNITED STATES ENVIRONMENTAL                   )
PROTECTION AGENCY, et al.,                    )
                                              )
      Defendants,                             )
                                              )   Case No. 1:19-cv-00988-RB-SCY
                and                           )
                                              )
AMIGOS BRAVOS, NEW MEXICO                     )
ACEQUIA ASSOCIATION, and GILA                 )
RESOURCES INFORMATION                         )
PROJECT,                                      )
                                              )
      Intervening Cross-Claimants-Defendants, )
                                              )
                v.                            )
                                              )
UNITED STATES ENVIRONMENTAL                   )
PROTECTION AGENCY, et al.,                    )
                                              )
      Cross-Defendants.                       )
__________________________________________)




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                                            ORDER

       Upon consideration of the Joint/Unopposed Motion to Further Extend Stay (Doc. 74), it is

ordered that the above-captioned proceeding remain in abeyance pending either issuance by the

Agencies of a final rule regarding the definition of “waters of the United States” within the

meaning of the Clean Water Act, 33 U.S.C. § 1362(7), or a determination by the Agencies that

they will no longer proceed with the rulemaking.

       It is further ORDERED that the Parties shall file a proposal or proposals for further

proceedings within 21 days after either of the above events occur.

       It is further ORDERED that the Agencies will file a status report every six months

beginning from the date of this Court’s order granting this proposal to govern proceedings.

       IT IS SO ORDERED.




                                             ________________________________
                                             ROBERT C. BRACK
                                             SENIOR U.S. DISTRICT JUDGE




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